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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                    Judge Raymond P. Moore

                                   Civil Action No. 19-cv-02594-RPM

   UNITED STATES SECURITIES AND EXCHANGE COMMISSION,

                                                   Plaintiff,

   v.

   MEDIATRIX CAPITAL INC., BLUE ISLE MARKETS INC. (St. Vincent & the Grenadines),
   BLUE ISLE MARKETS LTD., MICHAEL S. YOUNG, MICHAEL S. STEWART, and
   BRYANT E. SEWALL,

                                                   Defendants,

   and

   MEDIATRIX CAPITAL FUND LTD., ISLAND TECHNOLOGIES LLC, VICTORIA M.
   STEWART, MARIA C. YOUNG, HANNA OHONKOVA SEWALL, MICHAEL C. BAKER,
   WALTER C. YOUNG III, ARUAL LP, WEST BEACH LLC, SALVE REGINA TRUST, TF
   ALLIANCE, LLC, CASA CONEJO LLC, HASE HAUS, LLC, DCC ISLANDS FOUNDATION,
   KEYSTONE BUSINESS TRUST, WEINZEL, LLC, THE 1989 FOUNDATION, MEDIATRIX
   CAPITAL PR LLC, MEDIATRIX CAPITAL, LLC, and BLUE ISLE MARKETS INC. (Cayman
   Islands),

                                                   Relief Defendants.


                               DECLARATION OF BRYANT SEWALL



        1. I am a defendant in this action on a personal basis. I make this Declaration for the limited

           purpose of setting forth various assets that were in my possession or resulted from separate

           than Blue Isle Markets Ltd (“Blue Isle”), Blue Isle Markets, Inc. (“Blue Isle Markets”) and

           Mediatrix Capital Inc. (“Mediatrix”).

        2. In total, I had approximately $118,807 from savings in the end of 2015 and deposits in 2016

           and 2017 that did not come from corporate or relief defendants. Unfreezing at least $60,000
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        in cash will allow me to support my family. I also ask that the furniture purchased prior to

        mid-2016 be released along with my personal clothing and kitchenware such as dishes and

        utensils.

     3. Prior to any participation in the corporate defendants, I was in the military and earned

        income as a Lieutenant Colonel (O5 over 26 years on the Military pay chart). In January

        2016 I started with a balance in my USAA bank account of $11,433 and at Service CU of

        $19,237. This totaled $30,670 at two separate banks. None of this amount was from any of

        the corporate defendants or relief defendants.

     4. I also owned home furniture which was either from my previous home in Arizona prior to

        deployment to Germany or purchased primarily in February and March of 2016, a couple

        of pieces in April of 2016, well before any wire any amounts were received from the

        corporate or relief defendants. The furniture was bought with savings from active military

        duty in Germany and none was expensive. I also have personal items which include clothes

        and kitchenware that are currently located with the furniture at 1201 Lloyds Road, Little

        Elm, Texas which I would like permission to remove. Attached as Exhibit A are copies of

        various bank statements dated January 1, 2016. Attached as Exhibit B is a furniture

        inventory list.

     5. I also purchased certain assets in 2016 without contribution from the corporate or relief

        defendants which included:

                         2014 Dodge Ram- $23,650, 100% Financed August 2016 (payments are
                          400.53 per month/4806 per year) Current value about 15k
                         2012 Jeep-$30,900, 100% Financed August 2016 (payments are 612.89
                          per month/7345 per year) current value about 12k.
                         2012 Seadoo jet boat September 2016- $13500, current value about 10k
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        In 2016, I had $41,788 worth of deposits which did not come from corporate of relief

        defendants. In 2017 I had $46,349 worth of deposits which did not come from corporate or

        relief defendants and included proceeds from the sale of a 2010 Camaro for $18,000 and

        2008 Suzuki for $8300, purchased and paid for before the creation of the corporate or relief

        defendants.

     6. I have been forced to remain in the Ukraine since October 2019 as my wife’s IR1 immigrant

        visa is still in processing with the Department of State. It is a very slow and lengthy process,

        as we have been married for 3 years. In addition, the US embassy in Ukraine was shut down

        for Visa processing from March until June of 2020 due to Covid-19 furloughs. I need to

        finalize the documents that need to be submitted to complete the process and then wait for

        the Department of State and the National Visa Center to process them. Given the backlog

        of cases, it is unknown how long this may take to process. I also have a 10-month-old baby

        I do not wish to leave behind. As a result, I have been unable to find gainful employment

        as I cannot legally work in Ukraine and all remote employment I have found still requires

        you to be physically located in the US. We have lived off the generosity of friends and

        family for over a year.

     7. I respectfully request that I be permitted to unfreeze the total amount of $260,000 from the

        Frozen Assets in order to live but additionally to pay my attorneys, which have provided

        advise and representation without payment for some time. That includes Drohan Lee LLP

        as well as Ken Harmon of Springer & Spielberg. Each has given me a discounted rate for

        representation. Without the ability to retain counsel I will be left representing myself from

        the Ukraine in a complex securities litigation with possible criminal ramifications. I have

        been informed by my counsel that I am considered a “target” in a parallel federal criminal
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        investigation and that an indictment naming me as a defendant based on that investigation

        is forthcoming.

     8. I have denied the allegations against me in this civil action and intend to defend any criminal

        action.




                                    [INTENTIONALLY OMITTED]
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